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                           UNITED STATES BANKRUPTCY COURT
                               DISTRICT OF CONNECTICUT


 In re:                                                    Chapter 11

           HO WAN KWOK, et al.,                            Case No. 22-50073 (JAM)

                               Debtors.                    (Jointly Administered)


           NOTICE OF FILING OF META PLATFORMS, INC.’S OBJECTION TO
             EXTENSION OF DEADLINE TO FILE AVOIDANCE ACTIONS

          Meta Platforms, Inc. (“Meta”) files this notice of filing of its objection to the Motion of

Chapter 11 Trustee to Extend August 15, 2024 Deadline for Trustee to File Avoidance Actions in

Adv. Proc. No. 24-05117. A true and correct copy of Meta’s objection is attached.

 Dated: August 6, 2024                              /s/ George Angelich
        New York, New York                          George Angelich (ct27542)
                                                    Eric Roman (admitted pro hac vice)
                                                    Patrick Feeney (admitted pro hac vice)
                                                    ArentFox Schiff LLP
                                                    1301 Avenue of the Americas, 42nd Floor
                                                    New York, NY 10019
                                                    T: 212.457.5423
                                                    E: george.angelich@afslaw.com
                                                        eric.roman@afslaw.com
                                                        patrick.feeney@afslaw.com

                                                    - and -

                                                    Jin Yan (admitted pro hac vice)
                                                    ArentFox Schiff LLP
                                                    1717 K St. NW
                                                    Washington, DC 20006
                                                    T: 202.778.6442
                                                    E: jin.yan@afslaw.com

                                                    Counsel for Meta Platforms, Inc.
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                          UNITED STATES BANKRUPTCY COURT
                              DISTRICT OF CONNECTICUT


 In re:                                                  Chapter 11

           HO WAN KWOK, et al.,                          Case No. 22-50073 (JAM)

                              Debtors.                   (Jointly Administered)


 LUC A. DESPINS, CHAPTER 11
 TRUSTEE,                                                Adv. Proc. No. 24-05117

                              Plaintiff,

           v.


 META PLATFORMS, INC.,

                              Defendant.


                      META PLATFORMS, INC.’S OBJECTION TO
                EXTENSION OF DEADLINE TO FILE AVOIDANCE ACTIONS

          Meta Platforms, Inc. (“Meta”) objects to the motion of Luc A. Despins, as Chapter 11

trustee (the “Trustee”) to further extend the August 15, 2024 deadline to file avoidance actions and

states as follows:

          1.     Meta is already a defendant in the above-captioned adversary proceeding, in which

the Trustee seeks to avoid and recover purported fraudulent transfers made by a non-debtor to

Meta. ECF No. 1. Meta has moved to dismiss the Trustee’s complaint. Id., ECF No. 18.

          2.     To the extent the Trustee may seek to bring additional actions or claims against

Meta that would be time-barred but for for an extension of the August 15, 2024 deadline, Meta
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objects to the extension of that deadline. 1 Meta’s objection is also prompted by the Trustee’s

proposed order, which asks the Court to order “that any party that has received notice, whether

actual or constructive, of the Motion and did not object to the Motion has waived its right to assert

a limitations period defense if ultimately named in an action that is timely brought under the terms

of this Order[.]” ECF No. 25, Ex. 1.

       3.      The Court cannot extend the applicable statutes of limitations under Fed. R. Bankr.

P. 9006(b) because by its terms, that rule apply applies to deadlines set by “these rules or by a

notice given thereunder or by order of court.” 2 In re Walnut Hill, No. 16-20960 (JJT), 2018 WL

2672242, at *1 (Bankr. D. Conn. June 1, 2018); In re Tubular Techs., LLC, 438 B.R. 699, 710-11

(Bankr. D.S.C. 2006); In re Damach, Inc., 235 B.R. 727, 731 (Bankr. D. Conn. 1999); see also

Fed. R. Bankr. P. 1001 (defining “rules” as the Federal Rules of Bankruptcy Procedure); U.S. ex

rel. Eisenstein v. City of New York, 540 F.3d 94, 97 (2d Cir. 2008) (“When interpreting a rule of

procedure, we review the text for its ‘plain meaning.’”) (citation omitted). Indeed, Rule 9006(b)

is patterned after on Fed. R. Civ. P. 6(b), see Advisory Committee Notes, and “[e]very court to

have considered this question has held that Rule 6(b) may be used only to extend time limits

imposed by the court itself or by other Federal Rules, but not by statute.” Argentine Republic v.

Nat’l Grid Plc, 637 F.3d 365, 369 (D.C. Cir. 2011) (citing cases).

       4.      But even assuming Rule 9006(b) authorizes what the Trustee requests, as the Court

also recognized, fairness to defendants is an animating concern. Memorandum Order at 13. Here,


1
  Meta also reserves the right to challenge any claims brought by the Trustee that would be
untimely but for the extension of the original February 15, 2024 deadline.
2
  Meta recognizes that the Court held otherwise in its prior Memorandum Order granting the
Trustee an extension. Case No. 22-50073, ECF No. 2921. However, Meta was never served with
the Trustee’s prior extension motion and had no opportunity to raise this argument, which it now
does for purposes of preserving its rights.



                                                 2
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Meta has already incurred costs to defend against the Trustee’s existing claims. The Trustee’s

complaint against Meta was filed before the original February 15, 2024 deadline to commence

avoidance actions expired, and since getting an extension, the Trustee has not moved to amend to

add new claims against Meta. Meta should not have to incur additional cost in any further litigation

brought by the Trustee. Meta has not caused any delay in the Trustee’s being able to timely file

additional avoidance actions, and Meta should not be prejudiced by others’ delays. The Trustee

has already received a six-month extension. He should not get another six months, particularly

where his motion is vague as to actions he plans to take to ensure that he will not need yet another

extension if this one is granted.

       5.      The Trustee has already tried to stack the deck against Meta and other adversary

defendants through stretch legal theories and unorthodox procedural maneuvers, including the

following:

               •       The Trustee is bringing claims belonging to non-debtors without having
                       substantively consolidated them with the Debtor. He is prosecuting those
                       claims as a result of alter ego rulings in other cases, which rulings do not
                       substitute for substantive consolidation and which are not binding on any
                       adversary defendant that not a party to those cases. In some cases, portions
                       of the Trustee’s claims are unripe and stayed pending ruling on whether
                       certain non-debtor transferors are alter egos.

               •       The Trustee has withheld information concerning the very transfers he
                       challenges and conditioned an adversary defendant’s receipt of that basic
                       information on that defendant’s agreeing to be bound by a protective order
                       entered in the Debtor’s main bankruptcy case. It appears that the reason
                       such information is subject to the protective order is because that
                       information was obtained from third party financial institutions, and that
                       information (along with the claims derived from that information) belongs
                       to non-debtors. The Trustee has made no motion to unseal or otherwise
                       redact only truly confidential information such as bank account details, not
                       basic information concerning the amounts and dates of transfers.

               •       The Trustee has implemented a mandatory mediation program that shuttles
                       adversary defendants into mediation while staying challenges to the
                       sufficiency of the Trustee’s allegations, thus compelling defendants to
                       mediate, and potentially to settle, facially invalid claims. While mediation


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                       is ordinarily voluntary, the Trustee has forced defendants to affirmatively
                       opt out of it.

       6.      The Trustee ought not be allowed to further stack the deck by getting more time to

tack on additional claims against Meta. Thus, to the extent the Court is inclined to extend the

Trustee’s August 15, 2024 deadline to file avoidance actions, any additional actions or claims

against Meta should be carved out from that extension.

       7.      Meta reserves all rights, defenses, and remedies.

       WHEREFORE, Meta respectfully requests that the Court deny the Trustee’s motion to

extend the August 15, 2024 deadline to file avoidance actions, at least as it applies to any actions

or claims against Meta, and grant Meta such other and further relief as the Court deems appropriate.



 Dated: August 6, 2024                               /s/ George Angelich
        New York, New York                           George Angelich (ct27542)
                                                     Eric Roman (admitted pro hac vice)
                                                     Patrick Feeney (admitted pro hac vice)
                                                     ArentFox Schiff LLP
                                                     1301 Avenue of the Americas, 42nd Floor
                                                     New York, NY 10019
                                                     T: 212.457.5423
                                                     E: george.angelich@afslaw.com
                                                         eric.roman@afslaw.com
                                                         patrick.feeney@afslaw.com

                                                     - and -

                                                     Jin Yan (admitted pro hac vice)
                                                     ArentFox Schiff LLP
                                                     1717 K St. NW
                                                     Washington, DC 20006
                                                     T: 202.778.6442
                                                     E: jin.yan@afslaw.com

                                                     Counsel for Meta Platforms, Inc.




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                                  CERTIFICATE OF SERVICE

        I certify that on August 6, 2024, I caused a true and correct copy of the foregoing document

to be filed with the Clerk of the Court using the CM/ECF filing system, which will send notification

of such filing to all attorneys of record.

Dated: New York, New York
       August 6, 2024
                                                      /s/ George Angelich
                                                      George Angelich
